                            Case 19-24331-PGH                Doc 83       Filed 06/21/20          Page 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 19-24331-PGH
Ralph Levi Sanders, Jr.                                                                                    Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-0                  User: banoovong                    Page 1 of 1                          Date Rcvd: Jun 19, 2020
                                      Form ID: pdf004                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2020.
db             +Ralph Levi Sanders, Jr.,   561 SW 60 Ave.,   Plantation, FL 33317-3947

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2020 at the address(es) listed below:
              Gavin N Stewart    on behalf of Creditor   Specialized Loan Servicing LLC bk@stewartlegalgroup.com
              Michael H. Johnson    on behalf of Debtor Ralph Levi Sanders, Jr. info@attorneydebthelper.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Robin R Weiner   ecf@ch13weiner.com, ecf2@ch13weiner.com
                                                                                             TOTAL: 4
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            ORDERED in the Southern District of Florida on June 19, 2020.




                                                                   Paul G. Hyman, Jr.,Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________
                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

        IN RE:                                            CASE NO. 19-24331-BKC-PGH
                                                          CHAPTER 13
        RALPH LEVI SANDERS, JR.
        __________________________/

                            ORDER GRANTING EMERGENCY MOTION TO WITHDRAW
                                       AS ATTORNEY OF RECORD

           THIS CAUSE having come on to be heard on June 18, 2020 at 9:30 a.m. on the Emergency
        Motion to Withdraw As Attorney of Record filed by Attorney for Debtor (DE 77), and the Court being
        otherwise advised in the premises, it is:
                 ORDERED AND ADJUDGED as follows:
                 1. The Court grants the Motion to Withdraw as Attorney of Record effective immediately.
                 2. All future notices to Debtor shall be delivered by US Mail to the Debtor, Ralph Levi Sanders,
        Jr. at 561 SW 60th Ave., Plantation, FL 33317 and via email to: ralph_l_sanders@yahoo.com.
                 3. The Trustee shall distribute attorney’s fees earned to date to Michael H. Johnson, Esq. in
        the normal course. Any fees not yet earned will be distributed to Debtor’s future counsel.
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        Submitted by:

        Law Offices of Michael H. Johnson, P.A.
        3601 W. Commercial Blvd. Suite 31
        Ft. Lauderdale, FL 33309
        (954) 535-1131
        (954) 641-7750 fax
        Michael H. Johnson is directed to serve copies of this order on all interested parties and file a
        certificate of service.
